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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION




  JERMAINE LENARD MOSS,

  v.                                              Case No. 8:06-cr-464-T-17TGW
                                                           8:09-cv-2463-T-17TGW

  UNITED STATES OF AMERICA.
  _____________________________________________

                                         ORDER

         Jermaine Lenard Moss timely filed a 28 U.S.C. § 2255 motion to vacate, set aside,

  or correct an allegedly illegal sentence. He is proceeding on his amended motion to vacate

  (hereinafter "motion to vacate" or Motion To Vacate" or "2255 motion"). Doc. CV-6; Doc.

  CR-596.

                 Procedural History of the Amended Motion To Vacate

         On June 23, 2010, this Court entered an order requiring Moss to file a second

  amended motion to vacate. The Court specifically stated that any grounds for relief raised

  in a memorandum of law, but not stated on the form, would not be considered. On July 23,

  2010, Moss filed the second amended motion to vacate and completely ignored the Court<s

  order. He did not list any ground for relief on the form. Instead, he stated, “See attached

  memorandum of law for each ground.”
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        On July 28, 2010, the Court determined that Moss was not going to follow directions

  and that the Court would have to work with the second amended motion to vacate that was

  filed. On that date, the Court ordered Moss to identify on or before August 15, 2010 , any

  claims raised in the second amended motion to vacate or in the accompanying

  memorandum of law that he did not raise in the amended motion to vacate to which the

  Government had responded. Moss did not comply with this order. Instead, Moss filed a

  motion to apply the Fair Sentencing Act of 2010 to his 28 U.S.C. § 2255 motion to vacate.

        Filing a motion in his 28 U.S.C. § 2255 motion to vacate is not an appropriate

  manner in which to seek relief under the “Fair Sentencing Act of 2010."

        The Government, however, filed a response to this Court's July 28, 2010 order, and

  demonstrated that Moss did not raise any additional issues in his second amended motion

  to vacate that he had not raised in his amended motion to vacate (Doc. CV-6) and that he

  "dropped grounds 3, 4, and 8" in the second amended motion to vacate. Doc. CV-25.

        Because of the procedural history of this case, and taking into account the

  Government's response (Doc. CV-25) and Moss's lack of response to the Court's order

  regarding his second amended motion to vacate, the Court concludes that Moss is

  proceeding on his first amended motion to vacate (Doc. CV-6) (hereinafter "Motion

  To Vacate" or "motion to vacate"). The Government filed a response to the motion to

  vacate, (Doc. CV-12) and Moss filed a reply to the response. Doc. CV16.

     PROCEDURAL HISTORY OF MOSS'S 28 U.S.C. § 2255 MOTION TO VACATE

        On November 8, 2006, a federal grand jury in Tampa, Florida, returned a nine count

  Indictment charging Jermaine Lenard Moss and his co-defendants with multiple



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  conspiracies, multiple drug offenses, and multiple firearms offenses. Specifically, Moss was

  charged with conspiracy to possess with intent to distribute 50 grams or more of crack

  cocaine and a quantity of cocaine (Count One); conspiracy to use and carry firearms during

  and in relation to a drug trafficking offense (Count Two); and possession with intent to

  distribute five grams or more of crack cocaine (Count Nine). Doc. CR-1.

         A jury trial was thereafter commenced on June 11, 2007, and, following nearly two

  weeks of testimony and evidence, the jury returned a guilty verdict against Moss on all

  counts charged against him. Doc. CR-279. On October 5, 2007, this Court held a

  sentencing hearing and sentenced Moss to a 324 month term of imprisonment on Counts

  One and Nine of the Indictment, and a concurrent 240 month term of imprisonment on

  Count Two. Doc. CR-392.

         Moss appealed his conviction and sentence, Doc. CR-398, arguing:

         a) The District Court erred in allowing any evidence of a shoot-out;

         b) The District Court erred in denying Mr. Moss's judgment of acquittal on
         Count 9;

          c) The District Court erred in sentencing Mr. Moss.

         On August 4, 2008, the Eleventh Circuit affirmed Moss’s conviction and sentence.

  See United States v. Moss, 290 Fed.Appx. 234 (11th Cir. 2008) (per curiam), cert. denied,

  129 S.Ct. 663 (2008). Doc. CR-511.

         On January 8, 2010, Moss filed his §2255 motion arguing that his trial counsel was

  constitutionally ineffective for failing to:

         a. move to dismiss the indictment on grounds that the government provided
         false evidence to the grand jury (Ground One);

         b. move to dismiss the indictment on grounds that the grand jury and petit

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        jury were not selected pursuant to 28 U.S.C. § 1865 (Ground Two);

        c. move to strike the petit jury for juror misconduct (Ground Three);

        d. challenge the grand jury proceeding and not arguing that the grand jury
        and petit jury were under-represented as to black, Hispanics, and Indians
        (Ground Four);

        e. strike a petit juror for cause, investigate the background of the juror,
        conduct individual voir dire regarding pretrial publicity and racial prejudice,
        argue on appeal that the district court’s voir dire was inadequate (Ground
        Five);

        f. conduct a pretrial investigation and present a defense (Ground Six);

        g. effectively cross-examine witnesses (Ground Seven);

        h. argue the removal of a juror subsequent to deliberations (Ground Eight);

        i. argue on appeal that district court’s denial of a motion for new trial that was
        based on newly discovered evidence (Ground Nine);

        j. move for a mistrial based on improperly admitted evidence (Ground Ten);

        k. object to the jury instructions (Ground Eleven);

        l. object to the application of the guidelines (Ground Twelve);

        m. move for a mistrial based on the government’s failure to disclose a report
        of interview of Jarvis McCants (Ground Thirteen);

        n. move for a new trial based on the government’s presentation of false
        testimony (Ground Fourteen);

        o. allow him to take the witness stand (Ground Fifteen).

        For the reasons discussed below, all of these claims are without merit.

                                 FACTUAL BACKGROUND

        The facts pertaining to the offense conduct as listed below were obtained from the

  government’s brief in United States v. Moss, 290 Fed.Appx. 234 (11th Cir. 2008) (per

  curiam), cert. denied, 129 S.Ct. 663 (2008).

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        At trial, four co-conspirators, Jarvis L. McCants, Chancey Deon Cooper (“Chancey”),

  Terry Lynn Eady, and Arnell Devon Elrod, testified as government witnesses, collectively

  describing an extensive cocaine and crack cocaine trafficking operation in Bradenton,

  Florida, called “the Fam,” in which they and others had participated. Doc. CR-454 at 17-

  142; Doc. CR-456 at 262-329; Doc. CR-457 at 53-112, 123-208. From 2005 until mid-2006,

  Fam members Moss, Trinidad Marquez Hamilton (“Trinidad”), Maurice Lashane

  Hamilton(“Maurice”), Eady, Elrod, McCants, Chancey, and Anthony Leon Warrick used an

  apartment at 2313 29th Avenue West in Bradenton, Florida, (“the 29th St. apartment”) as

  a base of operations to sell cocaine and crack cocaine. Doc. CR-454 at20-41,48-52,

  145-49; Doc. CR-456 at 264-69; Doc. CR-457 at 57-66, 123-33. In mid-2006, the Fam

  moved the drug trafficking operation to 4608 B 27th Street West, Bradenton, Florida, (“the

  27th St. duplex”) because too many people knew its location and some members had seen

  police driving by the 29th St. apartment. Doc. CR-454 at 56-58; Doc. CR-456 at 270-72;

  Doc. CR-457 at 65-73.

        During the course of the drug-trafficking operation, Williams supplied powder

  cocaine to the Fam, and Williams, Elrod, and Eady cooked it into crack cocaine. Doc. CR-

  454 at 35-37, 56-60, 75; Doc. CR-456 at 267-72; Doc. 457 at 56-73, 129-31. Trinidad

  answered cellular phones to take orders for cocaine and crack cocaine and provided

  cellular phones to McCants, Maurice, Chancey, Elrod, Warrick, and Moss for them to

  answer and to take orders for cocaine and crack cocaine (collectively “the distributors”).

  Doc. CR-453 at 242-45; Doc. CR-454 at 21-41, 48-60; Doc. CR-456 at 263-72, 280-81;

  Doc. CR-457 at 60-73, 129-39. The cellular phones were assigned telephone numbers

  (941) 224-3340, (941) 773-6505, and (941) 932-3681. Doc. CR-454 at 23; Doc. CR-457

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  at 66-67, 130. Eady charged the distributors $300 per fifty-pack of crack cocaine, which the

  distributors then sold for $500 each. Doc. CR-457 at 61-62. Eady and the distributors split

  the proceeds fifty-fifty. Doc. CR-457 at 271-72. Eady cooked a kilogram of crack cocaine

  each week. Doc. CR-457 at 71-72. The distributor who took the order on a cellular phone

  delivered the cocaine and crack cocaine to customers, usually at a gas station. Doc.

  CR-454 at 22-60; Doc. CR-456 at 264-72; Doc. CR-457 at 71-73, 129-33. The Fam kept

  shotguns and handguns on-hand to protect its drugs and money from robbers. Doc.

  CR-454 at 59-75. The Fam acquired these firearms from its customers, who traded them

  for crack cocaine. Doc. CR-457 at 164-65. The firearms at the 27th St. duplex were

  available to all and were there for the protection of the duplex because “[e]verybody was

  protecting the house” and “[e]verybody was watching out for everybody’s back[.]” Doc. CR-

  456 at 269, 300-02, 325-26. The firearms were available for the group to use for protection

  if someone tried to rob them of drugs or money. Doc. CR-457 at 63-64, 73-78, 134-43.

         Johnny Barnes went to the 29th St. apartment to purchase powder cocaine from

  Williams and regularly saw Moss there taking orders for crack cocaine on the cellular

  phones. Doc. CR-454 at 145-52, 167-68. Moss carried a chrome firearm at the 27th St.

  duplex. Doc. CR-454 at 65-66. (After his arrest, Moss admitted to a fellow inmate, Quentin

  Isaiah Branch, that he had been part of a group that sold crack cocaine, but Moss claimed

  that, whereas others sold large amounts, he was a “light guy.” Doc. CR-454 at 175-76.)

         Mary Wasilko lived in the other side of the 27th St. duplex with her two daughters.

  Doc. CR-453 at 148. Five to six young men, including Moss, lived next door in the duplex

  and many more young men came and went from the duplex. Doc. CR-453 at 152-64. There

  were also frequent visitors to the duplex whose cars blocked Wasilko’s driveway. Doc.

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  CR-453 at 159-60.

         Beginning in January 2006, the Manatee County Sheriff’s Office (“MCSO”) began

  to investigate the Fam’s drug trafficking enterprise. Doc. CR-453 at 207-14. The MCSO

  searched the Fam’s trash and found sandwich bags and razor blades that tested positive

  for the presence of the cocaine, empty boxes for digital scales, large empty boxes of baking

  soda (which a detective testified was used to make crack cocaine from powder cocaine),

  and a drug ledger that showed the cost of powder cocaine, the amount to be charged for

  crack cocaine, and the profit to be earned from the sale of crack cocaine. Doc. CR-453 at

  223-57, 264-80, 297-98.

         On July 26, 2006, the MCSO executed a search warrant, searching the 27th St.

  duplex and searching automobiles that were parked outside. Doc. CR-453 at 280-81; Doc.

  CR-457 at 166. McCants and Maurice were outside and Cooper, Trinidad, Elrod, Warrick,

  and Chancey were inside when the MCSO began the search, but Chancey escaped out

  the back door. Doc. CR-454 at 84-85; Doc. CR-456 at 281-82.

         When Elrod heard shouts of the police, he ran into the southeast bedroom and got

  on the floor. Doc. CR-457 at 168. Lieutenant Todd Shear approached the door to the

  southeast bedroom, then stopped to wait for a signal that he had back-up. Doc. CR-453 at

  44-47. When he received the signal, Shear started to enter the southeast bedroom,

  shouting that he had a search warrant and that he was from the sheriff’s office. Doc. CR-

  453 at 47-49; Doc. 455 at 272-73. As he entered the room, Shear saw Elrod lying on his

  stomach next to the bed. Doc. CR-453 at 49-55. Shear had a blind spot to the left and he

  turned to check the room’s left corner. Doc. CR-453 at 50-54. When Shear turned, he saw

  Cooper lying on the floor on the other side of the bed. Doc. CR-453 at 54-56. Cooper held

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  a firearm, which he pointed and shot at Shear. Doc. CR-453 at 54-86. The bullet struck

  Shear’s weapon and finger, ricocheted, and struck Shear’s neck, wounding him. Doc. CR-

  453 at 56-86. (At trial, Shear testified he had no doubt that it was Cooper who had shot him

  and that he remembered Cooper’s face. Doc. CR-453 at 55-56, 100, 134, 138-39.)

         Lieutenant Stanley Schaefer and Detective Randall Barnett saw Shear take a small

  step into the southeast bedroom, heard a gunshot, and saw Shear spin back. Doc. CR-455

  at 226-28, 273. Shear fell onto Schaeffer, and Schaeffer fired at a man in the bedroom.

  Doc. CR-455 at 273. Barnett saw Shear collapse onto Schaeffer and fired, suppressing fire

  into the bedroom so that Schaeffer could get Shear out of the way. Doc. CR-455 at 228-29.

  Barnett and Schaeffer then entered the bedroom. Doc. CR-455 at 229-30, 273. Barnett saw

  Elrod inside the doorway and saw that he had been shot. Doc. CR-455 at 230- 33. Barnett

  turned to the “ambush corner” to the left and saw a second black man lying face down in

  the left corner of the room; this was Cooper, who was uninjured. Doc. CR- 455 at 231-36.

  Cooper’s revolver lay at his feet and a rifle lay next to him. Doc. CR-455 at 233-37, 242,

  244, 245, 316, 318, 322. When Schaeffer entered the room, he saw both Elrod and

  Cooper, face-down on the floor. Doc. CR-455 at 274. Schaeffer saw Cooper’s revolver lying

  on the floor at both men’s feet. Doc. CR-455 at 278-82. (When Wasilko later returned to her

  side of the duplex, she saw bullet holes in the walls of her daughter’s bedroom and her hall.

  Doc. CR-453 at 179-85.)

         The MCSO recovered Cooper’s revolver from the southeast bedroom. Doc. CR-454

  at 240-244, 270-71; 455 at 48-50. Cooper’s operable revolver was loaded with five bullets

  and it had one spent round in its chamber. Doc. CR-454 at 240-44, 273-77; Doc. CR-455

  at 203-04. The MCSO later did a re-enactment of the shooting that demonstrated that the

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  single bullet fired from Cooper’s revolver had fragmented, so that it sounded as if several

  rounds had been shot. Doc. CR-455 at 249-51.

        During the search of the duplex, officers found cocaine, crack cocaine, marijuana,

  and money. Doc. CR-454 at 83-86, 283-87, 313-330; Doc. CR-455 at 10-36, 53-66, 96-

  128. The officers found crack cocaine in safes. PSR ¶ 30. The officers also found digital

  scales, baking soda, pots, and bowls, some of which bore traces of cocaine. Doc. CR-454

  at 287-309; Doc. CR-455 at 112-19. The officers also found multiple firearms, both in plain

  view and concealed, and found ammunition stored throughout the duplex. Doc. CR-454 at

  209-330; Doc. CR-455 at 15-36, 41-52, 56-62. Several of the firearms seized from the

  duplex were operable. Doc. CR-455 at 193-215.

        After their arrests, McCants, Trinidad, Maurice, Warrick, and Cooper were housed

  together in jail and frequently spoke. Doc. CR-454 at 86-87, 99-100. Cooper admitted to

  McCants, Trinidad, Maurice, and Warrick that he had shot a policeman, claiming he had

  thought that the policeman was a robber. Doc. CR-454 at 87, 99-100. Cooper also told

  Branch, another fellow inmate, that he had shot a policeman, thinking that the policeman

  was a robber because robbers previously had robbed his group of drugs and money. Doc.

  CR-454 at 177-80.

         By listening to Trinidad’s, Warrick’s, and Maurice’s jail-house calls, the MCSO

  learned that the (941) 224-3340 cellular phone number had been reactivated on a new

  cellular phone after the execution of the search warrant. Doc. CR-457 at 211-21. Chancey

  confirmed at trial that he and Moss had continued using cellular phone number (941) 224-

  3340, and had continued to sell drugs after the July 26, 2006, search. Doc. CR-456 at 282-

  83, 327-28.

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        In September 2006, MCSO Detective Wendy Davis-Zarvis, acting undercover,

  purchased drugs by calling telephone number (941) 224-3340. Doc. CR-456 at 33-35.

  Zarvis called (941) 224-3340 on September 28, 2006, and, using street language, asked

  to buy $300 worth of crack cocaine. Doc. CR-456 at 33-36. Moss, Chancey and Patrick

  Dunbar then drove to Zarvis’s location. Doc. CR-456 at 37-44, 56-61, 284-86. When Zarvis

  showed Moss a wad of twenty-dollar bills, Moss, who was the “distributor” that day, handed

  Zarvis a bag containing thirty-six pieces of crack cocaine, which weighed 6.6 grams, and

  took the money. Doc. CR-456 at 45-46, 288. Moss later accompanied Chancey on

  November 8, 2006, when Chancey attempted to sell crack cocaine to another MCSO

  detective. Doc. CR-456 at 78-96; 288-91.

        An analysis of telephone records showed that at least 185,778 telephone calls were

  placed to and from the Fam’s cellular phones during the time of the drug trafficking

  operation. Doc. CR-457 at 262-69. Most of the calls were placed to and from the (941)

  224-3340 number; between April 2006 and October 2006, there were 87,130 calls to (941)

  224-3340, an average of 483 calls each day. Doc. CR-457 at 262-63, 270. Before trial,

        Cooper filed a motion requesting that the Court exclude evidence of the shooting of

  Lt. Shear, arguing that it was unrelated to the charges and that evidence was overly

  prejudicial; Moss adopted Cooper’s motion. Docs. CR-122, 143. The United States argued

  in opposition that the shooting had been in furtherance of the conspiracies charged in

  Count One and Two of the indictment, that it was charged in Count Five, that it was direct

  evidence of Cooper’s role and function in the conspiracies, that it was inextricably

  intertwined with other evidence of the conspiracy, that it was necessary to complete the

  story of the crime, and that its probative value outweighed any undue prejudice. Doc. CR-

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  150 at 6-8. The Court, adopting the government’s position, denied the motion (Docket No.

  150) Doc. CR-233. Cooper and Moss renewed their objections to this evidence at trial and

  moved for a mistrial based on its admission. Doc. CR-453 at 51. The Court overruled the

  renewed objections and denied the motions. Doc. CR-453 at 51. At the conclusion of the

  United States’ case, Cooper and Moss argued that cumulative error, including the

  admission of the shooting evidence warranted a new trial. Doc. CR-458 at 34-35, 38-39.

  The Court denied the motion for new trial. Doc. CR-458 at 60-61.

         At sentencing, the Presentence Report (PSR) prepared by the United States

  Probation Office recommended that the Court assess Moss a guidelines base offense level

  of 38 due to the amount of drugs involved in the conspiracy and then add two additional

  levels due to the presence of firearms (and in particular, based on McCants’ and Chancey’s

  testimony that they had seen Moss carry a firearm), for an adjusted offense level of level

  40. Moss PSR, ¶¶ 44-51. The PSR also recommended Moss’s criminal history category be

  at II. Moss PSR ¶ 57. The resulting advisory guideline imprisonment range was 324-405

  months. Moss’s PSR ¶ 87. The PSR noted that Moss was subject to a twenty-year

  mandatory minimum sentence on Count One, that Count Two carried a maximum penalty

  of twenty years’ imprisonment, and that Count Nine carried a mandatory minimum

  sentence of ten-years’ imprisonment. Moss’s PSR ¶¶ 85, 86. Moss objected to that

  guideline range, contending that he should receive a mitigating role reduction. Doc. 448

  at 4-8. The Court overruled the objection, emphasizing Moss’s lengthy involvement in the

  conspiracy and that he continued to distribute drugs even after the execution of the search

  warrant and arrest of most of his co-defendants. Doc. 448 at 17-18.

         The Court set Moss’s offense level at 40, his criminal history category at II, and the

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  advisory sentencing range at 324 to 405 months’ incarceration. Doc. 448 at 18. The Court

  sentenced Moss to 324 months’ imprisonment, stating that it had considered the

  sentencing factors of 18 U.S.C. § 3553(a) and had found the sentence to be sufficient but

  not greater than necessary to comply with the statutory purposes of sentencing. Doc. 448

  at 36-39, 44.

                                            DISCUSSION

         Local Rule 3.01(a) advises that with all motions filed ”. . . the movant shall include

  a concise statement of the precise relief requested, a statement of the basis for the

  request, and a memorandum of legal authority in support of the request...” (emphasis

  added). Moss, however, has not submitted a memorandum of law in support of his motion.

  Even a pro se litigant must fairly raise and argue all of his claims in his initial petition, giving

  the responding party a fair opportunity to respond to the claim. See Walker v. Dugger, 860

  F.2d 1010, 1011 (11th Cir. 1988) (pro se litigants are entitled to liberal construction, but

  issues mentioned only superficially are not properly raised). The district court should not

  consider arguments that are not fairly raised, Walker, 860 F.2d at 1011.

         Moss has raised fifteen claims that his counsel was ineffective during the trial and/or

  appellate process. To prevail on a claim of ineffective assistance of trial or appellate

  counsel, a Petitioner must meet the two-part test set forth in Strickland v. Washington, 466

  U.S. 668 (1984). Strickland's two-part test requires a Petitioner to demonstrate that

  counsel's performance was deficient and "there was a reasonable probability that, but for

  counsel's unprofessional errors, the result of the proceeding would have been different."

  Id. However, if a claim fails to satisfy the prejudice component, the court need not make

  a ruling on the performance component.

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                                          Ground One

         Counsel was ineffective for failing to move to dismiss the indictment on
         grounds that the government presented false evidence to the grand jury.
         Doc. CV-6 at 5.
         The Fifth Amendment provides, “No person shall be held to answer for a capital, or

  otherwise infamous crime, unless on a presentment or indictment of a Grand Jury” U.S.

  Const. amend. V. “A grand jury need find only that there is probable cause to believe that

  a crime was committed and that the defendant was the party who committed the crime.”

  United States v. Jennings, 991 F.2d 725, 729 (11th Cir.1993).

         “[A]s a general matter, a district court may not dismiss an indictment for errors in

  grand jury proceedings unless such errors prejudiced the defendants.” Bank of Nova Scotia

  v. United States, 487 U.S. 250, 254(1988). “[D]ismissal of the indictment is appropriate only

  if it is established that the violation substantially influenced the grand jury’s decision to

  indict, or if there is ‘grave doubt’ that the decision to indict was free from the substantial

  influence of such violations.” Id. at 256. Additionally, the Supreme Court has noted that a

  petit jury’s subsequent guilty verdict renders “any error in the grand jury proceeding

  connected with the charging decision [ ] harmless beyond a reasonable doubt.” United

  States v. Mechanik, 475 U.S. 66, 70 (1986) (citing racial discrimination in the composition

  of the grand jury as an exception).

         During the government’s presentation to the grand jury, Special Agent Robert Quinn

  of the Drug Enforcement Administration testified that he had interviewed someone who was

  in federal prison who was part of this “crew” before he was arrested. GJ Transcript at 38.

  The person provided information as to the inner workings of the group, that the group was

  a violent one, and that they carried firearms. Id. at 39. Agent Quinn was asked if this person


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  had talked about the individuals named in the indictment, including Jermaine Moss, to

  which Agent Quinn said that this person had talked about Moss. Id. at 40. Moss indicates

  in his motion that the person Agent Quinn is referring to during the grand jury proceedings

  is Johnny Barnes. Doc. CR-6 at 5. Nowhere does the grand jury transcript indicate that

  Agent Quinn is referring to Johnny Barnes, as Moss claims. At trial, Barnes indicated that

  he was interviewed by Agent Murray, along with Agent Quinn, but that he never mentioned

  Jermaine Moss’s name to the agents. Doc. CR-454 at 161-162. Moss gives no reason as

  to why this was prejudicial to him, nor does he cite any case law to support his claim. Even

  if Moss had given reasons why this was prejudicial to him, the outcome of the grand jury

  proceeding and the trial proceeding would have been the same given the overwhelming

  amount of evidence against Moss.

         Consequently, Moss’s claim fails, even if correct because Agent Quinn’s “other

  testimony provided additional unchallenged evidence upon which the grand jury could have

  relied. Further, the witness’s testimony, even if inaccurate, is not sufficient to require

  dismissal of the indictment.” United States v. Cosme, 134 Fed.Appx. 391 (11th Cir. 2005).

         Moss has not demonstrated prejudice resulting from the grand jury’s indictment or

  “grave doubt” that the decision to indict was free from substantial influence. Bank of Nova

  Scotia, 487 U.S. at 256. Additionally, the petit jury’s guilty verdict renders any grand jury

  error harmless.

         Ground one does not warrant relief.

                                         Ground Two

         Counsel was ineffective for failing to move to dismiss the indictment on
         grounds that the grand jury and petit jury were not selected pursuant to 28
         U.S.C. § 1865. Doc. CV-6 at 6.

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         During voir dire, Ms. Schade indicated that her occupation was a state court

  interpreter for the Tenth Judicial Circuit. Doc. CR-452 at 115. This Court asked Ms. Schade

  if she had any close contact with law enforcement. Id. at 116. Ms. Schade indicated that

  she had contact with law enforcement as it related to her job, but it was not close contact.

  Id. This Court then asked Ms.Schade if law enforcement was in the witness box if she

  would be able to evaluate what they said and how they said it and if she would be affected

  by their occupation. Id. Ms.Schade indicated, “Exactly Your Honor.” To which this Court

  replied, “--correct?” Id. To which Ms.Schade indicated yes. Id. This Court went on to ask

  if Ms.Schade’s employment by the state as an interpreter would in any way affect her ability

  to be fair and impartial, to which Ms.Schade replied, “No, my Your Honor. My job title’s for

  us to be completely neutral on either side.” Id. at 117.

         Title 28, U.S.C. § 1865 provides that:

         (a) The chief judge of the district court, or such other district court Case judge
         as the plan may provide, on his initiative or upon recommendation of the
         clerk or jury commission, or the clerk under supervision of the court if the
         court's jury selection plan so authorizes, shall determine solely on the basis
         of information provided on the juror qualification form and other competent
         evidence whether a person is unqualified for, or exempt, or to be excused
         from jury service. . . .

         (b) In making such determination the chief judge of the district court, or such
         other district court judge as the plan may provide, or the clerk if the court's
         jury selection plan so provides, shall deem any person qualified to serve on
         grand and petit juries in the district court unless he--

                (1) is not a citizen of the United States eighteen years old who
                has resided for a period of one year within the judicial district;


                (2) is unable to read, write, and understand the English
                language with a degree of proficiency sufficient to fill out
                satisfactorily the juror qualification form;


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                (3) is unable to speak the English language;

                (4) is incapable, by reason of mental or physical infirmity, to
                render satisfactory jury service; or

                (5) has a charge pending against him for the commission of, or
                has been convicted in a State or Federal court of record of, a
                crime punishable by imprisonment for more than one year and
                his civil rights have not been restored.

         This Court determined that Ms.Schade did not fit any of the five enumerated

  exceptions listed above and allowed her to remain on the panel. A trial court is granted

  discretion in conducting its voir dire examination and determining whether to excuse a juror

  for cause. United States v. Schlei, 122 F.3d 944, 994 (11th Cir.1997). If Moss and his

  counsel had issues with Ms.Schade that they could have asked that she be removed for

  cause, or used a peremptory strike to dismiss her.

         Again, Moss gives no reason as to why this was prejudicial to him, nor does he cite

  any case law to support his claim. Even if Moss had given reasons why this was prejudicial

  to him, the outcome of the trial would have been the same given the overwhelming amount

  of evidence against him.

         Ground two does not warrant relief.

                                        Ground Three

         Counsel was ineffective for not moving to strike the petit jury on the grounds
         that the petit jurors were untruthful when questioned about whether they had
         seen, read, or heard any news accounts regarding this case. Doc. CV-6 at
         8.

         As the Government pointed out, Moss did not raise this claim in his second amended

  motion to vacate. However, in an abundance of caution, the Court will address the claim.

         In order to establish that pretrial publicity prejudiced Moss, he must show first that


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  the pretrial publicity was sufficiently prejudicial and inflammatory, and second that the

  prejudicial pretrial publicity saturated the community where the trial was being held. See

  Coleman v. Kemp, 778 F.2d 1487, 1490 (11th Cir.1985); Rideau v. Louisiana, 373 U.S. 723

  (1963). In Coleman, the Eleventh Circuit emphasized that the “presumptive prejudice

  standard recognized in Rideau is only rarely applicable ... and is reserved for an extreme

  situation.” 778 F.2d at 1537 (citations and quotation marks omitted). Moss’s burden “to

  show that pretrial publicity deprived him of his right to a fair trial before an impartial jury is

  an extremely heavy one.” Id.

         Moss has not satisfied this burden. He has not made a showing of what publicity it

  was that the jurors were untruthful about, nor has he established that the pretrial publicity

  even existed and, if so, was sufficiently prejudicial.

         Prior to the start of voir dire, this Court swore in the prospective jurors and the entire

  panel affirmatively responded that each person would truthfully answer all questions

  touching upon their qualification as jurors in the case. Doc. CR-451 at 82. Following the

  reading of the indictment, the Court asked if any juror knew anything about the case by

  either seeing something about it or reading about it, or hearing something about it. Id. at

  93. One prospective juror stood and was questioned by this Court as to what it was that he

  knew about the case. Id. at 93-95. The prospective juror was ultimately dismissed for

  cause. Id. at 95. No other prospective juror had heard anything about the case. Moss,

  therefore, has failed to show that any prospective juror was affected by pretrial publicity

  and, more importantly, that pretrial publicity saturated the community where trial occurred.

         Ground three would not warrant relief.



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                                          Ground Four

         Counsel was ineffective for failing to raise a challenge relative to the under
         representation of Blacks, Hispanics, and Indians on the grand jury and petit
         jury.

         As the Government pointed out, Moss did not raise this claim in his second amended

  motion to vacate. However, in an abundance of caution, the Court will address the claim.

         As an initial matter, Moss’ attorney did, in fact, raise an issue with the Court relative

  to the composition of the jury venire. During the jury selection process, Mr. Sartes, counsel

  for defendant Tulani Cooper, made a general objection that the jury did not represent a

  cross section, to which Ms. Rose, Moss’s counsel, "opted in." Doc. CR-452 at 141-147.

  The Court overruled the objection. Doc. CR-452 at 145, 147. D-127 at 95-96.

         The Sixth Amendment requires that the venire from which a jury is selected

  represent a “fair cross-section” of the community. Taylor v. Louisiana, 419 U.S. 522 (1975).

  In order to establish a prima facie showing of a violation of this fair cross-section

  requirement, a defendant must demonstrate that: (1) the group alleged to be excluded is

  a distinctive group in the community; (2) the representation of this group in venires from

  which juries are selected is not fair and reasonable in relation to the number of persons in

  the community; and (3) this under-representation is due to systematic exclusion of the

  group in the jury selection process. Duren v. Missouri, 439 U.S. 357 (1979)).

         Moss has not provided any evidence that African-Americans, Hispanics, or Indians

  were singled out for different treatment under the laws as written or as applied here. Nor

  has he demonstrated the systematic exclusion of a distinctive group in his venire panel, as

  is required for a Sixth Amendment violation. Instead, Moss makes only self-serving

  statements and conclusions. He also gives no reason, if his claim was correct, why it was

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  prejudicial to him. Finally, Moss does not cite any case law to support his claim.

            Ground four does not warrant relief.

                                            Ground Five

            Counsel was ineffective for 1) failing to move to strike a juror for cause; 2)
            failing to investigate the backgrounds of the jurors and inquire as to
            misstatements made by prospective jurors; 3) failing to move to conduct
            individualized questions regarding what prospective jurors may have already
            heard about the case and concerning any racial prejudice; and 4) failing to
            raise on appeal the voir dire process was deficient and inadequate.

            1) During voir dire, juror Echevarria was questioned regarding her request to be

  excused. Doc. CR-451 at 117-118. This Court made note of Ms.Echevarria’s situation. Id.

  at 118. This Court made further inquiry of Ms. Echevarria, during which time Ms. Echevarria

  made no further indication of her need to be excused. Id. at 213-218. During a discussion

  with counsel sidebar, this Court and counsel discussed dismissing jurors for cause. Id. at

  225. This Court asked, “Ms.Echevarria?” to which Mr. Sartes stated, “Nothing wrong with

  her. She can stay here.” Id. If counsel or this Court deemed that Mrs. Echevarria should

  have been excused for cause, she would have been dismissed for cause. As it stands, this

  court nor counsel discovered no specific reason or hardship that would warrant a dismissal

  for cause.

            2) Moss fails to explain how the background of the jurors could have been

  investigated. His claim is not supported by any authority, nor is it facially sufficient to merit

  relief.

            3) The issue of pretrial publicity was discussed in Ground Three above.

            4) Appellate issues are addressed collectively below.

            Ground five does not warrant relief.


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                                          Ground Six

                       Counsel failed to conduct pretrial investigation.

         Moss alleges his counsel was ineffective because she failed to conduct a pretrial

  investigation and to present a defense at trial. Doc. CV-6 at 10B. Moss does not reveal

  what investigation should have been conducted by his counsel nor does he discuss any

  details about what he deems would have been revealed had an investigation been

  conducted. To establish ineffective assistance of counsel, a petitioner must provide factual

  support for his contentions regarding counsel’s performance. Smith v. White, 815 F.2d

  1401, 1406-07 (11th Cir. 1987). Bare, conclusory allegations of ineffective assistance are

  insufficient to satisfy the Strickland test. Wilson v. United States, 962 F.2d 996, 998 (11th

  Cir. 1992); Tejada v. Dugger, 941 F.2d 1551, 1559 (11th Cir. 1991). This claim is devoid

  of any factual support.

         Ground six does not warrant relief.

                                        Ground Seven

         Counsel failed to effectively cross-examine the government’s witnesses.

         Moss claims his counsel was constitutionally ineffective for failing to effectively

  cross-examine government witnesses. Moss’ complaints are largely refuted by the record.

  Counsel represented Moss’ interests at trial and her trial strategy of attacking the

  government’s case through the use of cross-examination was reasonable.

         Courts give great deference to those choices made by defense counsel in the

  conduct of a trial that are arguably dictated by a reasonable trial strategy. Devier v. Zant,

  3 F.3d 1445, 1450 (11th Cir. 1995). Thus, strategic choices made after thorough

  investigation of law and facts relevant to plausible options are virtually unchallengeable.

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  Strickland, 466 U.S. at 690; see also Baxter v. Thomas, 45 F.3d 1501, 1513 (11th Cir.

  1995). Sound tactical decisions within the range of reasonable professional competence

  are not vulnerable to collateral attack. See e.g., Weber v. Israel, 730 F.2d 499, 508 (7th Cir.

  1984) (choosing a defense is a matter of trial strategy); United States v. Guerra, 628 F.2d

  410, 413 (5th Cir. 1980). A tactical decision amounts to ineffective assistance of counsel

  “only if it was so patently unreasonable that no competent attorney would have chosen it.”

  Adams v. Wainwright, 709 F.2d 1443, 1445 (11th Cir. 1983); Strickland, 466 U.S. at 690.

  Tactical decisions made by counsel do not render assistance ineffective merely because

  in retrospect it is apparent that counsel chose the wrong course. Adams v. Balkcom, 688

  F.2d 734, 739 (11th Cir. 1982); see also Alexander v. Dugger, 841 F.2d 371, 375 (11th Cir.

  1988). Thus, a court deciding an ineffectiveness claim must judge the reasonableness of

  counsel’s challenged conduct on the facts of the particular case, viewed as of the time of

  counsel’s conduct. Strickland, 466 U.S. at 690.

         Under Strickland, Moss must establish that his counsel’s alleged lapses affected the

  outcome of his trial. Moss does not even attempt to establish prejudice in his motion. Moss’

  counsel conducted numerous cross-examinations of the government’s witnesses

  throughout the two-week trial. Without any specific instances as to which witnesses were

  not properly examined, the Court cannot address this claim. Further, Moss cites no case

  law in support of his contention. Consequently, this claim is meritless.

         Ground seven does not warrant relief.

                                          Ground Eight

         Counsel failed to object to the removal of Juror Amato after jury deliberations
         had begun.


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         As the Government pointed out, Moss did not raise this claim in his second amended

  motion to vacate. However, in an abundance of caution, the Court will address the claim.

         Moss contends that his counsel failed to object at trial to the removal of Juror Amato

  after jury deliberations had begun. On the morning of June 26, 2007, Juror Amato called

  and left a message on the courtroom deputy clerk’s voice mail that he was sick and thought

  he had the flu and that he would not be in that day. Doc. CR-463 at 3-4. The courtroom

  deputy clerk returned the call to Mr. Amato and spoke with his wife who stated that they

  were trying to get him an appointment with the doctor. Id. at 4. The Court was concerned

  that Mr. Amato, should he appear and try to continue deliberating, would contaminate the

  remainder of the jury panel. Id. at 5. The Court told counsel that there were two alternates

  (jurors) and, if Mr. Amato was replaced, that the jury would be instructed to begin

  deliberating from "square one," and would need to reelect a foreperson and go back over

  their conversations. Id. at 6-7. The Court then advised counsel that they needed to make

  a decision regarding whether or not to wait for Mr. Amato to get better or to go forward and

  replace him. Id. at 7. The Court asked Ms. Rose, Moss’ counsel, what the position of

  defendant Moss was concerning waiting or replacing Mr. Amato. Id. at 8. Ms. Rose stated

  that, “Mr. Moss said whatever the Court decides is fine with him.” The Court later stated,

  “And you can tell Mr. Amato that he is discharged and excused as a juror. We [have] any

  problems with that?” This Court then asked each counsel in turn if there were any problems

  with that decision to which Ms. Rose stated on behalf of Moss, “No, Your Honor.”

         In the context of other juror removal cases, the Eleventh Circuit has written that “[w]e

  will reverse the district court only if we find that it discharged the juror ‘without factual

  support, or for a legally irrelevant reason.’” United States v. Register, 182 F.3d 820, 839

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  (11th Cir.1999) (quoting United States v. Smith, 918 F.2d 1501, 1512 (11th Cir.1990)). The

  record in this case supports the fact that Juror Amato was removed after this Court

  reviewed the facts and discussed the facts with counsel for all parties. Moreover, the jury

  was properly instructed regarding its duties after his replacement.

         Ground eight does not warrant relief.

                                         Ground Nine

         Counsel was ineffective for failing to argue on appeal that the district court
         abused its discretion when it denied Moss’s motion for a new trial based on
         newly discovered evidence.

         Moss complains that his counsel was ineffective for not raising on appeal this Court’s

  denial of his motion for a new trial based on newly discovered evidence. The standard for

  a new trial based on newly discovered evidence is a five-part test: (1) the evidence must

  be discovered following trial; (2) the movant must show due diligence to discover the

  evidence; (3) the evidence must not be merely cumulative or impeaching; (4) the evidence

  must be material; and (5) the evidence must be of such a nature that a new trial would

  probably produce a different result. United States v. Kersey, 130 F.3d 1463, 1465 at fn. 2

  (11th Cir. 1997). Great caution must be exercised by a district court when granting new

  trials based on newly discovered evidence. United States v. Johnson, 713 F.2d 654, 661

  (11th Cir. 1983).

         The issue Moss complains about was resolved by this Court on October 4, 2007.

  Doc. CR-364. In its Order denying the motion for new trial based on newly-discovered

  evidence, this Court adopted the government’s response and incorporated it by reference

  into its Order. Id. Although this issue was not raised on direct appeal, Moss does not

  indicate why his counsel was ineffective for not doing so. More importantly, Moss does not

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  explain how he would have met the strenuous standard for review on appeal and thereby

  overcome the Court’s ruling. Moss could not have prevailed on this issue on appeal given

  the record in this case and, therefore, appellate counsel did not raise it because it had no

  merit.

           Ground nine does not warrant relief.

                                           Ground Ten

           Counsel was ineffective for failing to move for a mistrial based on improperly
           admitted evidence.

           Moss complains that his counsel did not move for a mistrial based on improperly

  admitted evidence during trial. The record refutes any such allegation. On June 19, 2007,

  prior to the testimony of the kidnap victim and her sister, a discussion was held at sidebar

  in which the attorney for co-defendant Cooper objected to the testimony that was about to

  be provided as being prejudicial to his client. Doc. CR-456 at 101-102. Moss’s counsel

  echoed this objection. Id. at 102. The government then provided the Court with an

  explanation as to why the testimony was relevant and how it related to the conspiracy count

  in the indictment. Id. at 102-103. The Court subsequently overruled counsels’ objections

  and permitted the testimony of the robbery and kidnaping. Id. at 104.

           Counsel for Cooper then moved for a mistrial prior to the testimony of the kidnaping

  victim. This Court deferred ruling on the motion until after the witness testified. Doc.

  CR-456 at 105. This Court asked Moss’s counsel if she wished to join that motion for

  mistrial to which she replied, “Absolutely.” Id. at 106. Counsel for Cooper again moved for

  mistrial prior to the testimony of the kidnaping victim’s sister. Id. at 146. Moss’s counsel

  again joined the motion for mistrial. Id. at 147. This Court subsequently denied all motions


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  for mistrial pertaining to these two witnesses. Id. at 158.

         The record clearly shows that Moss’s counsel moved for a mistrial on the evidence

  presented by the kidnap victim and her sister and this claim does not warrant relief.

                                         Ground Eleven

         Counsel was ineffective for failing to object to the instructions given to the
         jury.

         Moss claims that his attorney failed to object to the jury instructions. This claim is

  unclear, if not incomprehensible, and is not supported by any factual or legal basis. Claims

  not fairly raised will not be entertained on collateral attack. United States v. Jones, 614 F.2d

  80 (5th Cir. 1980); Walker v. Dugger, 860 F.2d 1010, 1011 (11th Cir. 1988) (claims raised

  only superficially). While a pro se litigant may be entitled to liberal construction of his

  arguments, issues mentioned only superficially will not be treated as properly raised.

  Walker, 860 F.2d at 1011. Likewise, vague, conclusory, speculative, or unsupported claims

  cannot support an ineffective assistance of counsel claim. Tejada v. Dugger, 941 F.2d

  1551, 1559 (11th Cir. 1991). The Court construes the claim as Moss's objecting to the

  manner in which the jury instructions were handled. The record reflects that on April 28,

  2007, this Court issued an order that the government and all defendants were “directed”

  to confer on the jury instructions and to file up to three types of proposed instructions, those

  being instructions agreed to by all parties, those proposed by the government to which the

  defendants objected, and those proposed by the defendants to which the government

  objected. Doc. CR-132. The jury instructions were discussed at the jury charge conference,

  as is the standard practice in this district. Doc. CR-458 at 71-73; 76- 79. During the charge

  conference, counsel for co-defendant Cooper told this Court that all three attorneys had


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  gone through the jury instructions over the lunch break. Id. at 77. This Court then asked if

  the instructions were acceptable to which all attorneys said that they were. Id. at 77-78.

         Moss fails to show that any of the jury instructions were improper. Otherwise, he has

  failed to show any deficient performance by his counsel in addressing the jury instructions

  and also failed to identify how he suffered any prejudice from the perceived deficient

  performance by counsel.

         Ground eleven does not warrant relief.

                                         Ground Twelve

         Counsel was ineffective for failing to object to the guidelines application.

         Moss contends that his counsel was ineffective for failing to challenge the amount

  of drugs attributable to him and that he should not have received a two-level enhancement

  for possessing a firearm.

         Although this Court should construe Moss’s pro se motion more liberally than a

  pleading filed by an attorney, Fernandez v. United States, 941 F.2d 1488, 1491 (11th

  Cir.1991), this principle cannot excuse Moss’s failure to explain why he is entitled to any

  relief for failure to previously raise these issues.

         Nevertheless, Moss's claim fails because the evidence at trial included testimony

  that Terry Eady was cooking approximately a quarter kilogram of cocaine into crack

  cocaine every week, which in turn was being sold by Moss and others. Doc. CR-457 at 57.

  So, while the jury found Moss’ offense involved 50 grams or more of cocaine base as to

  Count One of the Indictment, and 5 grams or more of cocaine base as to Count Nine of the

  Indictment, Doc. CR-279, the testimony of Eady clearly supported the guideline level of 38

  assigned to the offense.

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         In addition, Moss was found guilty of conspiracy to unlawfully use and carry firearms

  during and in relation to a drug trafficking offense. Doc. CR-279. U.S.S.G. § 2D1.1(b)(1)

  provides for a two level increase in the offense level if a dangerous weapon was

  possessed. There were firearms present during the drug transactions that took place at the

  residence. PSR ¶ 44. Also, two co-defendants testified at trial that Moss carried a firearm.

  Id.

         Consequently, Moss’s allegations are broad and conclusory allegations and are not

  sufficient to establish ineffective performance and/or resulting prejudice. Claims not fairly

  raised will not be entertained on collateral attack. United States v. Jones, 614 F.2d 80 (5th

  Cir. 1980); Walker v. Dugger, 860 F.2d 1010, 1011 (11th Cir. 1988) (claims raised only

  superficially). While a pro se litigant may be entitled to liberal construction of his arguments,

  issues mentioned only superficially will not be treated as properly raised. Walker, 860 F.2d

  at 1011. Likewise, vague, conclusory, speculative, or unsupported claims cannot support

  an ineffective assistance of counsel claim. Tejada v. Dugger, 941 F.2d 1551, 1559 (11th

  Cir. 1991).

         Moss has failed to show any deficient performance by his counsel and failed to

  identify how he suffered any prejudice from the alleged deficient representation that meets

  the Strickland standard and his claims are meritless.

         Ground twelve does not warrant relief.

                                         Ground Thirteen

         Counsel was ineffective for failing to move for a mistrial based on the
         government’s failure to disclose a report of interview of Jarvis McCants.

         Moss alleges his counsel was ineffective because she failed to move for a mistrial


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  based on the government not providing a report of interview for Jarvis McCants. Doc. CV-6

  at 10F. Moss does not reveal what interview was not disclosed, nor does he discuss any

  details about what would have been revealed had the interview been disclosed and to what

  extent he was prejudiced by the interview not being disclosed. To establish ineffective

  assistance of counsel, a petitioner must provide factual support for his contentions

  regarding counsel’s performance. Smith v. White, 815 F.2d 1401, 1406-07 (11th Cir. 1987).

  Bare, conclusory allegations of ineffective assistance are insufficient to satisfy the

  Strickland test. Wilson v. United States, 962 F.2d 996, 998 (11th Cir. 1992); Tejada v.

  Dugger, 941 F.2d 1551, 1559 (11th Cir. 1991). This claim is devoid of any factual support.

         Ground thirteen does not warrant relief.

                                       Ground Fourteen

         Counsel was ineffective for failing to move for a new trial based on the
         government’s presentation of false testimony during trial.

         Moss alleges his counsel was ineffective because she failed to move for a new trial

  based on the government’s submission of alleged false testimony during trial. Doc. CV-6

  at 10F-G. Once again, however, Moss does not reveal what testimony he claims was“false”

  during the trial, nor does he discuss any details or to what extent he was prejudiced by the

  so-called “false” testimony. To establish ineffective assistance of counsel, a petitioner must

  provide factual support for his contentions regarding counsel’s performance. Smith v.

  White, 815 F.2d 1401, 1406-07 (11th Cir. 1987). Bare, conclusory allegations of ineffective

  assistance are insufficient to satisfy the Strickland test. Wilson v. United States, 962 F.2d

  996, 998 (11th Cir. 1992); Tejada v. Dugger, 941 F.2d 1551, 1559 (11th Cir. 1991). This

  claim is devoid of any factual support.


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         Ground fourteen does not warrant relief.

                                       GROUND FIFTEEN

                  Counsel was ineffective for failing to allow Moss to testify.

         Moss claims his trial lawyer was ineffective because she did not allow him to testify

  during trial. Doc. CV-6 at 10G. Moss’s allegations that his attorney refused to permit him

  to testify requires straightforward application of the Strickland test. The right to testify

  cannot be waived by defense counsel. United States v. Teague, 953 F.2d 1525, 1535 (11th

  Cir. 1992) (en banc). Because defense counsel primarily is responsible for advising the

  defendant of his right to testify, the appropriate vehicle for a claim that counsel violated the

  defendant’s right to testify is a claim of ineffective assistance of counsel. Id.

         Such claims, however, must still meet the two pronged analysis of Strickland.

  Nichols v. Butler, 953 F.2d 1550, 1553-54 (11th Cir. 1992); Teague, 953 F.2d at 1535. “It

  is true that a defendant’s testimony ‘in his own trial is unique and inherently significant.’ But

  this presumption, standing on its own, is not enough to show prejudice under Strickland.”

  See Rodriguez v. United States, 286 F.3d 972, 985 (7th Cir. 2002) (quoting Nichols, 953

  F.2d at 1553). The defendant must show both that his counsel performed deficiently by

  infringing on his fundamental right to testify and that, had he testified, the result of his trial

  would have been different. Rodriguez, 286 F.3d at 985; see also United States v. Willis,

  273 F.3d 592, 598 (5th Cir. 2001) (applying Strickland test and concluding that attorney’s

  advice to defendant not to testify was not unreasonable and that, even if defendant had

  testified, the proceedings would not have been affected); Teague, 953 F.2d at 1535

  (holding that, because defendant had failed to show that his will was “overborne” by

  defense counsel, court had no need to determine whether defendant was prejudiced).

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           A district court faced with conflicting uncorroborated allegations of a section 2255

  petitioner and uncorroborated allegations of the petitioner’s former trial counsel concerning

  counsel’s advice regarding the right to testify may not simply deny the petition based on a

  “per se credit counsel in case of conflict rule” without making credibility findings. See

  Gallego v. United States, 174 F. 3d 1196, 1199 (11th Cir. 1999); but cf. Chang v. United

  States, 250 F.3d 79, 84 (2nd Cir. 2001) (expressing disagreement with Gallego while, at

  the same time, holding that district court had not “summarily” dismissed petition and that

  dismissal of petition without a hearing based on trial counsel’s affidavit was not abuse of

  discretion when petitioner’s claims were “generic,” counsel’s affidavit was detailed, and

  district judge had presided over the trial). This court’s credibility findings may take into

  account internal inconsistencies in the petitioner’s allegations, conflicts between the

  petitioner’s allegations and the existing record, and the Court’s knowledge of the prior

  proceedings. Id., see also Broadwater v. United States, 292 F.3d 1302, 1303 (11th Cir.

  2002).

           Moss’s claim is insufficient to merit any consideration by this court because it is

  facially insufficient to meet either the performance or the prejudice prongs of Strickland. As

  to performance, Moss asserts that counsel did not allow him to testify at trial. Doc. CV-1

  at 10G.

           While the current record does not contain any specific statement from Moss’s

  counsel concerning what advice she gave Moss as to testifying during trial, in his motion,

  Moss admits counsel advised him of his right to testify and discussed with him the

  disadvantages of testifying. Id. Moss claims that counsel advised, “I don’t think that’s a

  good idea [for you to testify] because the prosecutor will tear you apart on the stand;” and

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  “we don’t have time to prep you for your testimony.” Even if Moss’s counsel had made

  these statements, it doesn’t change the fact that he, not his counsel, ultimately made the

  decision not to testify.

         This Court need not reach the question of whether Moss’s counsel performed

  deficiently, however, because Moss has not shown he was prejudiced. See Strickland, 466

  U.S. at 697. Moss claims counsel should have allowed him to testify so the Judge and the

  jury could have fairly weighed his credibility against the credibility of the “government

  witnesses [who] were lying on him.” Doc. CV-1 at 10G. Moss, however, fails to state what

  the witnesses were lying about and how his testimony would have affected the outcome

  of the trial. Moss has not alleged that had he testified, the outcome of the trial would have

  different.

         Ground fifteen does not warrant relief.

                                        Appellate Issues

         Throughout Moss’s 2255 motion, he makes claims that counsel was ineffective for

  not arguing certain issues on appeal, namely grounds four, five, nine, ten, eleven, and

  fourteen.

         Like the standard for trial counsel in Strickland, appellate counsel too are entitled to

  a wide latitude when a reviewing court examines their professional behavior. It is proper

  for appellate counsel to make tactical decisions on selecting issues, including the tactical

  decision not to dilute strong arguments with weak ones. Jones v. Banner, 463 U.S. 745,

  751 (1983); Hendricks v. Calderon, 70 F.3d 1032, 1042 (9th Cir. 1995). It is proper that

  appellate counsel impose her professional judgment in crafting the appeal.

         Moss merely lists issues which he now believes should have been raised in his

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  appeal. He does not explain where or how the issues relate to the case. They contain very

  limited citations to the record and no citations to any legal authority. It is impossible from

  the quantity of information set forth in his petition to analyze those issues in any meaningful

  way. Those challenges, therefore, must fail because they lack particularity, there has been

  no showing that it was error for counsel to not raise them, and there has been no showing

  whatsoever that they would have any chance of success on appeal. A review of the appeal

  filed by counsel for Moss shows a thoughtful and rigorous selection of issues. After the

  Eleventh Circuit affirmed the conviction and sentence, counsel petitioned the U.S. Supreme

  Court for a Writ of Certiorari.

         Moss is not entitled to relief on any of his appellate claims.

         Accordingly, the Court orders:

         1. That Moss's 28 U.S.C. § 2255 motion to vacate (Doc. CV-6; CR-596) is denied.

         2. That Moss's second amended motion to vacate (Doc. CV-21; Doc. CR-602) is

  denied as moot.

         3. That Moss's motion to apply the Fair Sentencing Act of 2010 to his 28 U.S.C. §

  2255 motion to vacate (Doc. CV-24) is denied.

         The Clerk is directed to enter judgment against Moss and to close this case.

                           CERTIFICATE OF APPEALABILITY AND

                    LEAVE TO APPEAL IN FORMA PAUPERIS DENIED

         IT IS FURTHER ORDERED that Defendant is not entitled to a certificate of

  appealability. A prisoner seeking a motion to vacate has no absolute entitlement to appeal

  a district court's denial of his motion. 28 U.S.C. § 2253(c)(1). Rather, a district court must

  first issue a certificate of appealability (COA). Id. “A [COA] may issue AAA only if the applicant

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  has made a substantial showing of the denial of a constitutional right.” Id. at § 2253(c)(2).

  To make such a showing, Defendant “must demonstrate that reasonable jurists would find

  the district court's assessment of the constitutional claims debatable or wrong,” Tennard

  v. Dretke, 542 U.S. 274, 282 (2004) (quoting Slack v. McDaniel, 529 U.S. 473, 484 (2000)),

  or that the issues presented were ‘adequate to deserve encouragement to proceed further.

  Miller-El v. Cockrell, 537 U.S. 322, 335-36 (2003) (quoting Barefoot v. Estelle, 463 U.S.

  880, 893 n. 4 (1983)). Defendant has not made the requisite showing in these

  circumstances.

         Leave to proceed in forma pauperis is denied. Moss must pay the full $455.00 filing

  fee without installments unless the United States Court of Appeals for the Eleventh Circuit

  allows Moss to proceed in forma pauperis.

         ORDERED at Tampa, Florida, on October 15, 2010.




  A U S A :
  Matthew H.
  Perry
  Jermaine Lenard Moss




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